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   Attorneys for Plaintiff,
11 Antonio Napier
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13
                         UNITED STATES DISTRICT COURT
14                        FOR THE DISTRICT OF ARIZONA
15
16 Antonio Napier,                           Case No.: 2:19-cv-04600-DGC
17                   Plaintiff,              PLAINTIFF’S APPLICATION FOR
18                                           ATTORNEYS’ FEES AND COSTS
         vs.
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20 Swiftfunds Financial Services LLC,
21                Defendant.
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28
                                            APPLICATION FOR ATTORNEYS’ FEES AND COSTS
         Case 2:19-cv-04600-DGC Document 18 Filed 02/25/20 Page 2 of 4



 1         Plaintiff, Antonio Napier, pursuant to this Court’s February 14, 2020 Order,
 2
     (See Docket No. 16), submits his Application for Attorneys’ Fees and Costs as
 3
 4 follows:
 5 I.      PLAINTIFF IS ENTITLED TO                        RECOVER          REASONABLE
 6         ATTORNEYS’ FEES AND COSTS
 7         Pursuant to §1692k of the FDCPA, Plaintiff is entitled to recover his reasonable
 8
     attorneys’ fees and costs of this litigation. 15 U.S.C. §1692k(a)(3). As set forth in the
 9
     accompanying Declaration of Trinette G. Kent, Plaintiff incurred attorneys’ fees
10
11 totaling $3,935 calculated as follows:
12
13            1. Trinette G. Kent, Esq.            8.4 hours @ $400/hour = $3,360
14            2. Paralegal Time                    4.6 hours @ $125/hour = $575
15
16 (Kent Declaration at ¶¶5, 7, 8, 9, 10)
17
           In addition, Plaintiff’s costs are $530, representing the filing fee ($400) and the
18
19 cost of service ($130). (Id. at ¶6.)
20         Thus, Plaintiff has incurred reasonable attorneys’ fees and costs totaling $4,465
21
     ($3,935 in attorneys’ fees + $530 in costs) and respectfully requests that the Court
22
23 award him that amount for attorneys’ fees and costs. (Id. at ¶11.)
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                                               2 APPLICATION FOR ATTORNEYS’ FEES AND COSTS
         Case 2:19-cv-04600-DGC Document 18 Filed 02/25/20 Page 3 of 4



 1 II.     CONCLUSION
 2
           Based on the foregoing, Plaintiff respectfully requests that Court award Plaintiff
 3
 4 $4,465 for his attorneys’ fees and costs pursuant to 15 U.S.C. §1692k(a)(3).
 5
 6
     DATED: February 25, 2020                  Respectfully Submitted,
 7
 8
                                               By: /s/ Trinette G. Kent
 9                                             Trinette G. Kent, Esq.
10                                             Lemberg Law, LLC
                                               Attorney for Plaintiff,
11                                             Antonio Napier
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                                              3 APPLICATION FOR ATTORNEYS’ FEES AND COSTS
         Case 2:19-cv-04600-DGC Document 18 Filed 02/25/20 Page 4 of 4



 1                                CERTIFICATE OF SERVICE
 2
           I, Juliet Stead, hereby certify that on February 25, 2020, a copy of the foregoing
 3
 4 Plaintiff’s Application for Attorneys’ Fees and Costs, along with the Declaration of
 5 Trinette G. Kent, were mailed by first-class mail, postage prepaid, to the parties listed
 6
   below:
 7
 8 Swiftfunds Financial Services LLC
   609 Deep Valley Drive, Suite 200
 9 Rolling Hills Estate, CA 90274
10
                                                          /s/ Juliet Stead
11                                                        Juliet Stead
12                                                        Paralegal to Trinette G. Kent
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                                                 4 APPLICATION FOR ATTORNEYS’ FEES AND COSTS
